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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS




______________________________________
In Re
Snowshoe Millworks LLC

Appellant
Sheila Coffin Harshman

            v.
                                                   Civil Action No. 1:24-cv-12894-FDS

Appellee
Stage Point Fund, LLC




Trustee
Chapter 7 Trustee Steven Weiss
______________________________________



                                 ORDER OF DISMISSAL



Saylor, C. J.



In accordance with the Court's ORDER dated July 2, 2025 (Dkt. No. 48), it is hereby ORDERED
that the above-entitled action be and hereby is DISMISSED.



                                                 By the Court,




        07/02/2025                                /s/ Melonie Cooke
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Date                                    Deputy Clerk
